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                                 WITNESS AND EXHIBIT LIST

                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
 Main Case No: 23-645                  In re Professional Fee Matters Concerning the
                                       Jackson Walker Law Firm
 Adversary No: N/A                     Style of Adversary: N/A

 Witnesses:
 All persons listed on the witness list of any       Judge: The Honorable Eduardo V. Rodriguez
 party
 Any rebuttal and/or impeachment witnesses           Courtroom Deputy: Ana Castro
                                                     Hearing Date: October 15, 2024
                                                     Hearing Time: 1:00 p.m.
                                                     Party’s Name: Kevin Epstein, U.S. Trustee
                                                     Attorney’s Names: Laura D. Steele, Joel
                                                     Charboneau, Vianey Garza
                                                     Attorney’s Phone: 202-322-7086
                                                     Nature of Proceeding: Hearing on Jackson
                                                     Walker LLP’s Motion to Use Freeman
                                                     Transcripts Without Restriction filed on
                                                     September 18, 2024 [Dkt. No. 338]

                                            EXHIBITS

Ex.                Description                   Offered      Objection   Admitted/    Disposition
 #                                                                          Not
                                                                          Admitted
      Any document, pleading, exhibits,
      transcripts, orders, or other documents
      filed in the above captioned case
      All exhibits presented or designated by
      any other party in interest for the
      hearing
      All impeachment and/or rebuttal
      exhibits

        The U.S. Trustee reserves the right to supplement or amend this Witness and Exhibit List

at any time prior to the Hearing.




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Date: October 11, 2024                          Respectfully Submitted,

                                                KEVIN M. EPSTEIN
                                                UNITED STATES TRUSTEE
                                                REGION 7, SOUTHERN AND WESTERN
                                                DISTRICTS OF TEXAS

                                                By: /s/ Vianey Garza
                                                   Millie Aponte Sall, Assistant U.S. Trustee
                                                   Tex. Bar No. 01278050/Fed. ID No. 11271
                                                   Vianey Garza, Trial Attorney
                                                   Tex. Bar No. 24083057/Fed. ID No. 1812278
                                                   Alicia L. Barcomb, Trial Attorney
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                               CERTIFICATE OF SERVICE

        I hereby certify that on October 11, 2024 a copy of the foregoing U.S. Trustee’s Witness
and Exhibit List for Hearing Scheduled on October 11, 2024 was served on the parties entitled to
notice through the Court’s ECF system.

                                                By: /s/ Vianey Garza
                                                   Vianey Garza




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